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AT ROANOKE, ya" COURT
FILED

IN THE UNITED STATES DISTRICT COURT JUN 26 2019
FOR THE WESTERN DISTRICT OF VIRGINIA ;

J
CHARLOTTESVILLE DIVISION ots ap, a
PU L

Civil Action No. 3:19CV0038

JOHN DOE,

Plaintiff,
ORDER
Vv.
By: Hon. Glen E. Conrad
THE RECTOR AND VISITORS OF Senior United States District Judge

THE UNIVERSITY OF VIRGINIA, et al.,

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Defendants.

This case is presently before the court on the plaintiff's motion to seal an exhibit filed by
the defendants. For good cause shown, it is hereby

° ORDERED
that the motion to seal (Docket No. 7) is GRANTED. The exhibit identified in the plaintiff's
motion shall be placed under seal pending further order of the court.

The Clerk is directed to send a copy of this order to all counsel of record.

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‘DATED: This 2° day of June, 2019. Dyer Coat

Senior United States District Judge

 

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